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 1                                                                      JUN 2 6 2018
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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     VIASAT, INC., a Delaware corporation,         Case No.: 3:16-cv-00463-BEN-JMA
12                                      Plaintiff,
                                                     ORDER ON DEFENDANT'S
13     v.                                            APPLICATION FOR AN ORDER
                                                     CLARIFYING PAGE COUNT
14     ACACIA COMMUNICATIONS, INC., a
       Delaware corporation,
15                                                   [Doc. No. 99.)
                                      Defendant.
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17
18          Before the Court is Defendant Acacia Communications, Inc.'s ("Acacia") Ex Parte
19    Application for an Order Clarifying Page Count related to Viasat Inc. 's February 2, 2018
20    Motion Papers, or in the Alternative for an Order Granting Acacia Leave to File
21    Oppositions with Additional Pages. (Doc. No. 99.) PlaintiffViaSat, Inc. ("ViaSat") filed
22    a Response to Acacia's Ex Parte Application. (Doc. No. 100.)
23          On February 2, 2018, ViaSat filed three motions: (1) a Motion for Summary
24    Judgment on Acacia's Counterclaim for Patent Misappropriation, (2) Motion to Exclude
25    Expert Testimony and (3) Motion for Partial Summary Judgment. (Doc. Nos. 89, 95, 98.)
26    Each of these motions was scheduled for hearing on March 5, 2018. ViaSat's
27    Memoranda of Points and Authorities ("P and A") supporting these three motions was 7
28    pages (Doc. No. 89-1 ), 25 pages (Doc. No. 95-1 ), and 25 pages (Doc. No. 98-1)


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 1 respectively. As a result, ViaSat's Memoranda total 57 pages, 32 pages over what is
 2 permitted by the Court for "all motions noticed for the same motion day." Civ. LR
 3   7.l(h). 1
 4          Plaintiffs claim that after receiving the hearing date from the Court, they "assumed
 5   (perhaps wrongly) that the 25-page limit in Local Rule 7.1 (h) would apply to each
 6   separate motion." (Doc. No. 100 at 2.) Moreover, ViaSat does not object to Acacia
 7 having 25 pages for each of its oppositions to each ofViaSat's motions. (Id.) Acacia
 8   alleges it will be unduly burdened by not having additional pages to respond to the
 9   additional 32 pages in its Oppositions as Acacia is similarly limited for its memoranda
10   "in opposition to all motions noticed for the same motion day." (Doc. No. 99 at 2.)
11          This Court takes compliance with its Local Rules seriously. As Judge Kozinski
12   remarked, it has become more common for lawyers to file oversized briefs at the last
13   minute and "dare us to bounce them." Cuevas v. Hartley, 835 F.3d 892, 893 (9th Cir.
14   2016) (Kozinski, J., dissenting). Courts often accept these briefs because striking them
15   "knocks the briefing and argument schedule out of kilter," thus causing more trouble than
16   "putting up with the additional unnecessary pages." (Id.) But "[t]his encourages disdain
17   for our rules and penalizes lawyers ... who make the effort to comply." (Id.)
18          Despite this admonition, the Court will allow ViaSats' oversized memorandum in
19   this instance. Moreover, the Court further ORDERS Acacia may file either a single
20   opposition brief or three separate opposition briefs not to exceed fifty-seven (57) pages in
21   total. Going forward, however, ViaSat and Acacia are forewarned, they both MUST
22   comply with the Local Civil Rules governing the length of briefs unless leave of Court is
23   granted.
24   Ill
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26
     1 LocalCivil Rule 7. l(h) sets a presumptive limit of twenty-five (25) pages for any brief
27
     or memorandum in support of a motion unless leave to file excess pages is granted by the
28   Judge assigned to hear the motion.
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 1        IT IS SO ORDERED.


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 3   Dated: June
 4                                      /---VH~~':::::._!~
                                         Hon.          . Benitez
 5                                       Uni ed States District Judge
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